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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

CARL FORSELL )
)
) Case No: 22-cv-01454
)
) Judge: Lioi
Plaintiff, )
Vs. ) Magistrate Judge: Henderson
SQUIRRELS, LLC, et al. )
)
Defendants.

AGREED MOTION TO CONTINUE FINAL PRETRIAL AND TRIAL

NOW COME Plaintiff, Carl Forsell (hereinafter ‘Mr. Forsell’), and Defendant, Alimine,
Inc. (hereinafter ‘Alimine’) by and through undersigned counsel, hereby respectfully submit an
Agreed Motion to Continue the Trial scheduled for July 11, 2025. For cause, Mr. Forsell
contends that he will be unable to appear in person at trial until November 2025 pursuant to a
travel restriction that he is currently under which prohibits him from traveling to the United
States from Singapore, where he currently resides, Defendant Allmine, Inc. agrees with

Plaintiffs continuance request.

As aresult of this travel restriction, Mr. Forsell offered to keep the trial date as
scheduled and appear remotely in July 2025. However, Defendants Squirrels, LLC and David
Stanfill objected to Mr. Forsell’s remote appearance. Mr. Forsell remains willing to appear at

trial remotely.

This agreed continuance request is not sought for the purpose of causing delay and will

not be prejudicial to the Court or any of the parties in this case.

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Respectfully submitted
/s/-Thomas L. Sooy /sf Jessica D. Gibson, per email consent on 9/18/25
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CERTIFICATE OF SERVICE

The undersigned hereby certifies that on the 19" day of September 2021, the forgoing

Agreed Motion to Continue was served via ordinary US mail and/or electronic mail upon the

following:

Jack B. Cooper, Esq

Milligan Pusateri Co., LPA

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And David Stanfill

/s/- Thomas L. Sooy
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